                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                  EASTERN DIVISION

                                      NO. 4:09-CR-2l-FL-2



 UNITED STATES OF AMERICA,                   )
                                             )
        v.                                   )
                                             )                       ORDER
 TONY JAMES ROUSE,                           )
                                             )
                  Defendant.                 )


        This matter comes before the court on the memorandum and recommendation ("M&R") filed

by the United States Magistrate Judge (DE # 48) and defendant's motion to suppress statements (DE

# 37). After hearing held on June 10, 2009, the magistrate judge filed the M&R on July 21, 2009,

recommending this court grant defendant's motion to suppress defendant's statements (DE # 37).

The time for objections to the M&R has now passed with no objections filed by either party. In this

posture, the issues raised in the M&R and defendant's motion to suppress are ripe for ruling.

        The magistrate judge found that, considering the totality of the circumstances in this case,

the government failed to satisfy its burden of showing that defendant knowingly and intelligently

waived his right to counsel prior to being interviewed by the police on September 23, 2008, and

making the statements contested by the instant motion. As such, the magistrate judge found that the

statements were obtained in violation of defendant's Fifth Amendment rights.           Further, the

magistrate judge found that defendant did not make a knowing and intelligent waiver of his Sixth

Amendment right to counsel when the police interrogated him on September 23,2008, and elicited

the statements at issue.

       The court has thoroughly reviewed the well-considered M&R, the facts of the case and the



             Case 4:09-cr-00021-FL      Document 57       Filed 08/21/09      Page 1 of 2
relevant case law and agrees with the magistrate judge. Accordingly, the court ADOPTS the

findings in the M&R as its own. For the reasons set forth in the M&R, defendant's motion to

suppress (DE # 37) is GRANTED.
                                 y
      SO ORDERED, this theo?0 day of August, 2009.




                                     ~~.:J~~~~_'-­
                                     ~LANAGAN
                                         Chief United States District Judge




                                            2



         Case 4:09-cr-00021-FL       Document 57     Filed 08/21/09     Page 2 of 2
